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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON, et al.,
                             Plaintiffs,
                v.                                        Civil No. 16-cv-2255 (CRC)
FEDERAL ELECTION COMMISSION,
                             Defendant,
AMERICAN ACTION NETWORK,
                       Intervenor-Defendant.

                                    NOTICE OF APPEAL

       Intervenor-Defendant American Action Network appeals to the United States Court of

Appeals for the District of Columbia Circuit from the March 20, 2018 judgment of the district

court (Dkt. Nos. 47 (order) and 48 (memorandum opinion)) granting Plaintiffs’ cross-motion for

summary judgment and denying the Federal Election Commission’s and American Action

Network’s motions for summary judgment, as well as from all orders and rulings merged therein,

including without limitation the September 19, 2016 memorandum opinion and order entered in

related Case No. 14-cv-01419 (CRC) at Dkt. Nos. 52 (memorandum opinion) and 53 (order).

                                            Respectfully submitted,

                                            /s/ Claire J. Evans
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May 4, 2018                                 Counsel for American Action Network
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                               CERTIFICATE OF SERVICE
       I hereby certify that, on May 4, 2018, a true and correct copy of American Action
Network’s notice of appeal was filed and served electronically through the Court’s CM/ECF
system upon the following counsel of record:
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                                                          /s/ Claire J. Evans
                                                          Claire J. Evans




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